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                                    I.'NITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF MISSOI]RJ
                                            EASTERN DIVISION

   TJMTED STATES OF AMERICA,                         )
                                                     )
                     Plaintitr,                      )
                                                     )
                                                     )      No. 4:17 CR 00234 RLW
                                                     )
   MOHAMMED ALMUTTAN,                                )
                                                     )
                    Defendant.                       )

                                      GI,IILTY-PLEA AGREEMENT

             Come now the parties and hereby agree, as follows:

   I.   PARTIES:

             The parties are Defendant MOTIAMMED          ALMUTIAN,       represented by defense counsel,

   Justin K. Gelfand and Ian T. Murphy, and the United States of America" represented by the United

   States   Attorney's Office for the Eastern District of Missouri (hereinafter USAO). This agreement

   does   no!   and is not intended to, bind any govemmental office or agency other than the USAO.

   The Court is not a party to this agreement.

  2. GTJILTY PLEA:

            Pusuant to Rules 1l(c)(l)(A) and I I (c)(lXB), Federal Rules of Criminal procedure, in

  exchange for Defendant's voluntary plea of guilty to count        I   of the Indictnen! the Govemment

  agrees to dismiss Counts        2,3,4,   14 and 34 at the plea hearing and also agrees that Do further

  federal prosecution      will be brought in this District relative to     Defendant's involvement in

  conspiring to .sell and transport contaband cigarettes, to distribute and to possess     wift intetrt to
  {istibute controlled sutstances and analogue conrolled                substances intended   for   human
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  consumptiorl and launder money between January l, 2014 and May 24,2017 of which the USAO

  is aware at this time.

             The parties agree that the U.S. Sentencing Guidelines Totirl Offense LeVel analysis agreed

  to by the parties is the result of negotiation and led, in part, to the guilty plea The parties fi:rther

  agree that eith€r party may rEquest a sentence above or below the U.S. Sentencing Guidelines

  range (combination of Total Offense Level and Criminal History Category) ultimately determined

  by the Court pumrant to any chapter of the Guidetines and Title 18, United States Code, Section

  3ss3(a).

  3. ELEMENTS:

          a. Count    I
         As to Count       l,   Defendant admits to knowingly violating Titte 18, United States Code,

  Section 371 (18 Uuited States Code, Section 2342(a)), and admirs there is a factual basis for the

  plea and further firlly understands that the elements of the crime are:

   (Conspiracy to Sell Contaband Cigarettes)

                   One,     between January 1,2014 and       W   24,2017, Defendant
                            reached an agreement with at least one other person to sell
                            conhaband cigareftes;

                   Two, Defendant voluntarily and intentionally joined                the
                            agr€emenq

                   Three, at the time Defendant joined in the agreemen! he knew its
                          purpose; and

                   Four, while the   agreement was in effecl Defendant knowingly
                            committed an overt act in furtherande of the agreement.
                                                                lr




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   4. FACTS:

           The parties agree that the facts in this case are as follows and that the USAO would prove

   these facts beyond a reasonable doubt   ifthe   case were to go to   trial. These facs may be considered

   as relevant conduct pursuant to Section I B I .3:


           Prior to 2015, brothers, Hisham Mutan (Hisham), Rami Almuttan (R8mi), Saddam Mutsn

   (Saddam), and Mohammed Almuttan @efendant), purchased and began operating numerous gas

   stations and convenience storcs throughout the greater St. Louis metropolitan area in the Eastern

   District of Missouri. These stores include Kenyes Market at 5477 North Kingshighway (Kenyes),

   Hazelwood Discount Cigarettes at 6950 North Hanley (Hazelwood Dscount), Northway Market

   at 5590 North Florissant Blvd. (Northway),      Mally's Supennarket at7445       \,1. Florissant   (Mally's),

   and the Phillips 66 gas station at 2800 North Florissant Blvd. @hillips 66).

           Cigareues (in an amount exceeding 10,000) which bear no evidence                    of   payment   of

   applicable state or local cigarette taxes. (stamps) where such cigarettes are formd are "contraband"

   cigarettes. Cigarettes are corunonly packaged 20 cigarcttes to a pack, l0 packs to a carton; thus

   one carton contains   2fi) cigarettcs, 50 cartons contain 10,000 cigarettcs. During the time of the

   instant offense, the applicable state tax rate in Illinois was $19.80 per carton ofcigarettes, in New

  Jersey   it was $27.00, and in Missouri it was $ 1.70. Thus, there is      a significant   profit to be made

  in selling contraband Missouri-axed cigsrettes in the Sbte of Illinois and the State of New Jersey

  simply by avoiding the state tax.

           Defendant supervised the conspiracy         to distribute contraband cigarettes.           Defendant

  directed, and at times personally participated in, the purchase of bulk quantities of Missouri tax-

  stamped cigarettes from area sam's clubs on a regular basis. Purchases were made on Sam's



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  business accounts in the names ofconvenience stores owned or operated by the Almuttan brothers

  or their close associates. Those cigarettes were temporarily stored at locations controlled by

  Defendant such as his residence, co-defendant Saddam's residence, or Mally's Supermarket.

  Contraband cigarette purchasen from Illinois and New Jersey, such as codefendants Najeh

  Muhan4 Fares Muhana, and Naser Abid, ananged with Defendant or Saddam for the cigarette

  purchases. Most often these coutaband cigarette purchasers sent couriers to pick up the cigarettes

  in   exchauge   for casb, but occasionally did so themselves. Initially, Defendant oversaw      these

  uansactions, but later delegated that responsibility to Saddarn. Direct proceeds from these sales

  were, by and large, reinvested into firther cigareue purchases.

          During the time frame of Defendant's participation in the consptacy, he was responsible

  for the inteuded sale of approximately 400,000 cartons of contraband cigarettes, in total,

  approximately 300,000 to the State of lllinois, 100,000 to the State of New Jersey, leading to an

  intended tax loss to Illinois of approximately $5,940,000 and an intended tax loss to New Jersey

  of approximately $2,700,000.

          The parties agree that the intended tax loss is more than $3,500,000 and less than

  $9,500,000. The parties also agree that calculating the actual tax loss in this case is not possible

  and the parties therefore make no agreement as to the actual tax loss.

  5. STATUTORY PENALTIES:

          Defendant fully understands that the maximum possible penalty provided by law for the

  crime to which Defendant is pleading guilty is imprisonment of not more than 5 years, a fine of

  not more than $250,000, or both such imprisorunent and fine, The court may also impose     a   period

  of supervised release of not more than 3 years.


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   5.   U.S. SENTENCING       GUIDELINES: 2021 MANUAL:

           Defendaut understands that this ofrense is atrected by the United States Sentencing

   Guidelines (U.S.S.G.) and the actual sentencing range is determined by both the Total Offense

   Level and the Criminal History Category. The parties agree that the following are the U.S.S.G.

   Total Offense Level pmvisions that apply:

           r.   Cheoter 2 Ofiense Conduct:

                   (1)   Base Ofrense   Level: The parties agree that the base offense level is 24 as

   found in Section 2E4.1(a)Q) cross referenced to Section 2T4.1(J) as the intended tax loss is more

   than $3,500,000 and less than $9,500,000, including all relevant conduct.

           b. Chaoter 3 Adiustments: The parties agree the following Chapter 3 Adjustnents are

   applicable:

                   (1) Aqqravatine Rolei The parties recommend that 4 levels should be added

   pursuant to U.S.S.G $3B 1.1(a) because Defendant was an organizer or leader ofa criminal activity

   that involved five or more pailicipants.

                   (2) Accentance, of Resoonsibilitv: The parties recommend that two lwels should

   be dducted pursuant to U.S.S.G $3El.l(a), because Defendant has clearly demonstated

   acceptance of rcsponsibility. Further, the USAO, under the facts known at the presen!   will make

   a motion at the time of sentencing for an extra one level reduction based on Defendant's

  uotification lo the USAO of Defendant's intention to plead         guilty. Ihe   parties agree that

  Defendant's eligibility   for this deduction is based upon information prcsently known.          If
  subsequent to the taking of the guilty plea the       USAo receives new evidence of satements or




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  conduct by Defendant which        it   believes are inconsistent with pefendant's eligibility for this

  deduction, the USAO may decide not to file such motion without violating the plea agreement.

           c. Estimated Total Ofrense Level:       The parties estimate the Total Offense Level is 25.

           d. Criminel Efutory:    The determination of Defendant's Criminal History Category shall

  be left to the    Court Either party may      challenge, before and at sentencing, the finding of the

  Presentence Report as to Defendant's criminal history and the applicable category. Defendant's

  crininal history is known to Defendant and is substantially available in the Pretrial Services

  Report

           e. Efiect of the Parties' U.S. Seotcncine Guideling Aralvsis: The parties              agree that

  the Court is not bound by the Guidelines analysis agreed to hercin. The parties may not have

  foreseen      all applicable Guidelines. The Court may, in     is    discretiorl apply or not apply any

  Guideline despite the agreement herein and the parties shall not be permitted to withdraw from the

  plea agreemenr

  7.   WAIVER OF APPEAL          AIT{D   POST.COIWICTION RIGHTS:

           a.        eal: Defendant has been    firlly apprised by   defense counsel   of Defendant's rights

  conceming appeal atrd firlly undentands the right to appeal the sentence under Title 18, united

  States Code, Secti on 3742.

                    (l)   Non-Scntencine     Isiues: The   parties waive all rights to appeal all non_

  jurisdictional, non-sentencing issues, including, but not limited to, any issues relating to pretrial

  motions, discovery and the guilty plea"

                    (2) sentcncins Issuca: In the event the court       accepts the plea, accepts the U.S.

  sentencing Guidelines analysis agreed to hereiq and, afrer determining a Total offense Level,


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   sentences Defendant within or below that range, then, as part        ofthis ageement Defendant hereby

   waives all rights to appeal all sentencing issues. Similarly, the Govemment hereby waives all

   rights to appeal all sentencing issues, provided the Court accepts the plea and sentences Defendaut

   within or above the range of the determined Total Ofense Level.

           b.   Habeas Corous: Defendant agrees to waive all rights to contest the conviction or

   senleDce   in any post-conviction proceeding, including one pursuant to Tifle 28, United           Ststes

   Code, Section 2255, exoept for claims of prosecutorial misconduct or ineffective assistance            of

   counsel.

           c. Richt to     Records:    Defendant waives all rights, whether asserted dircctly or by a

   rcpresentative, to rcquest from any deparfrent or agency             of the United States any    records

   pertaining to the investigation or prosecution ofthis case, including any records that may be sought

   utrder lhe Freedom of Information      Ac! fitle 5, United Stales Code,      Section 522, or the Privacy

   Act, Tifle 5, United Stales Code, Section 552(a).

   8. OTIIER:

           a. Disclosura Reorircd bv Fe Urdted Strt6 Probation Otrc.: Defeilaot                    agrces to

   tuthfirlly complete and sign foms       as required by the United States Probation Office prior to

   sentencing and consents to the release of these fomrs and any supporting documentation by the

   United Stales Probation Office to the USAO.

           b.   Civil or      ministrative Actions not Barred: Efiect on Other Governmental

   Agencies: While nothing contained herein limits        Ore   rights Bnd authority of the United States to

   take any civil, tax, immigra:tion/deportation or administrative action against Defendant, the parties

   expressly agee that the count      sf conviction is not   a crime involving moral turpitude,   is not an


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  aggravatd felony, and involves a conspiracy to commit an offense against the United States, not

  deAaud the United States. Defendant's decision to enter into this guilty plea agreement is expressly

  predicated on the parties'   joint agreement that the count of conviction is not a crime involving

  moral turpitude, and is not an aggravated felony.        ln the event United    States immigra.tion

  authorities and/or a court eroneously teat this conviction as such, Defendant has the right to

  withdraw his guilty plea

           c.   Suoerviscd Release: Pu$uant to any supervised rclease term, the Court will impose

  standard conditions upon Defendant and may impose special conditions related to the crime

  Defendant committed. These conditions will be restrictions on Defendant to which Defendant      will

  be   rquired to adherc, Violation of the conditions of supendsed rclease resulting in revocation

  may require Defendant to serve a term        of imprisonment equal to the length of the term of

  supervised release, but not geater than the term set forth in Title 18, United Ststes Code, Section

  3583(eX3), without credit for the time served after release. Defendant undentands that parole has

  been abolished.

           d.   Mandatorv Soecial Assessment Pursuant to Title 18, United States Code, Section

  3013, the Court is required to impose a mandatory special assessment of$100 per count for a total

  of $100, which Defendant     agrees   to pay at the time of sentencing. Money paid by Defendant

  toward any rcstitution or fine imposed by the court shall be first used to pay any unpaid mandatory

  special assessment.

          e. Possibilitv of Detention:    Defendant may be subject to immediate detention pursuant

  to the provisions of Titl€ 18, United States Code, Section 3143.




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          f.   Fires. Rcstitution. and Costs of Incrrcerstion and Suoervision: The Court may

   impose a fine, costs of incarceration and costs of supervision. Defendant agrees that any fine

   imposed by the Court    wiil   be due and payable immediately.

          The parties agree andjointly recommend that no restitution is due and that restitution is not

   mandatory in this case pusuant to the Mandatory Victims Restitrtion Act (lE U.S.C. $ 3663A)

   because a determination    of complex issues of fact relating to the amount of any victirns' losses

   would complicate and prolong the sentencing process to such a degree rhat the burden outweighs

   the need to provide restitution. Here, determining actuat tax loss amounts would complicate and

   prolong the sentencing process to such a degree that the need to provide restitution to state

   govemments or any other alleged victim,      ifany is due, would        be outweighed by its burden on the

   sentencing process.

          Additionally, the parties agree andjointly recommend that no restitution be ordercd in this

   case because ofDefendant's agreement to      forfeitue   as   ontlined in the following paragraph and the

  substantial offs€ls in taxes paid to the State      of Missouri and local govemments. Defendant

  acknowledges this restitution agreement does not impact the amount ofintended tax loss calculatcd

  and admitted to rmder Section 4 of this Plea    Ageemeol

          s. Forfcit[re:    The defendant agrees the stipulated facts above are s"fEcient to support

  forfeiture ofcertain assets pusuant to the applicable forfeiture authorities. Defendant

  specifically agees to the forfeiture of the following: All itcms listed in the Bill of Particutars for

  Forfeiture of Property @oc. #581) except for Items (a), (tt). The defendant agrees the court may

  enter a consent   prelhinary order of forfeitue any time before sentencing,            and zuch order   will
  become final as to the defendant when it is issued and         will   be part   ofthe sentence. The


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   defendant agrees not to object to any administative, civil, or criminal forfeiture brought against

   any assets subject to forfeiture. The defendant   will   execute any documents and take all steps

   needed to tansfer title or ownenhip of said assets to the government and./or to rebut the claims

   ofnominees and/or alleged third party owners. The defendant knowingly and intelligently

   waives all constitutional, statutory, and equitable challenges to any forfeitr.ne carried out in

   accordance with this plea agreement, including but not limited to tbat defendant was not given

   adequate notice of forfeiture in the charging   imtument.

           The Govemment agees that it      will retum to the defendant ard that it will not pursue

   forfeiture of the following property that was seized as part ofthe investigation: The following

   items listed in the BiIl of Particulars for Forfeitrue of Property @oc. #581): (a), (tt) (the

   "Returned Property"). The defendant releases and forever discharges the United States            of
   America, the Intemal Revenue Service, the United States Department of Homeland Security

   Investigations, the United States Marshals Service, and the departnents, reprcsentatives, officers,

   agents, attomeys, and employees of the entities herein above named, of and from any and all

   civil liabilities, claims or causes of action whatsoever at law or in equity, whether now known or

   hereafter discovered, including without limitation all civil claims and causes ofaction arising out

   of the seianre of the Returned Property.

           The defendant knowingly and voluntarily waives any right, title, and interest in all other

   items seized by law enforcement officials during the course of their investigation, whether or not

   they are subject to forfeiture, and agrees not to contest the vesting of title of such items in the

   udted states. The defendant     agrees to abandon   his interest in all seized items   and   firther
   agrees that said items may be disposed     ofor destoyed by Iaw enforcement officials in any


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   manner without further notice. By abandoning these items, the defendant waives any future

   righs to receive additional notice,     a valuation   ofthe items, or the opportunity to submit    a   claim

   to contest the disposition or destruction of the items that may exist under any policies or

   procedures of the seizing agency(ies).

   9. ACKNO WLEDG MENT AND WAIVER OF DEFENDAIIT' S RIGHTS:

             In pleading guilty, Defendant acknowledges, firlly undentands and hereby waives his

   rights, including but not limited to: the right to plead not guilty to the chrges; the right to bc tried

   by a jury in a public and speedy        tial;   the right to file pretrial motions, including motions to

   supprcss or exclude evidence; the right at such trial to a presrunption of innocence; the right to

   require the USAO to prove the elements of the offenses charged against Defendant beyond a

   reasonable    doub! the right not to testi&; the right not to present any evidence; the right to be

   protected from compelled self-incrimination; the right at trial to confront and cross+xamine

   adverse witnesses; the right to testiS and present evidence and the right to compel the attendance

   ofwitnesses. Defendant further understands          th*    by this gullty plea, Dcfendant expressly waives

   all the rights set forth in this paragraph.

             Defendant firlly understands that Defendant has the right to be represented by coursel, and

   if   necessary, to have the   court appoint counsel u tial and at every other stage ofthe proceeding.

   Defendant's counsel has explained these rights and the consequances ofthe waiver ofthese rights.

   Defendant fully understands that, as a result of the guilty plea, no trial wilt, in   fac! occur   and that

   the only action remaining to be taken in this casc is the imposition of the sentence.

             Defendant   is fully satisfied with the      representation received    *rn   6"16N6 so,'nsel.

   Defendant has reviewed the USAo's evidence and discussed the USAo's case and all possible



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   defenses and defense witnesses       with defense counsel. Defense counsel has completely                and

   satisfactorily explored all arcas which Defendant has requested relative to the USAO's case and

   any defenses.

             Defense counsel has advised Defendant               of the possible immigmtion       coDsequences

   rcsulting from the plea as set out in this plea agreement.

   10. VOLI'NTARY NATIjRE OF THE G                               PLEA AND PLEA AGREEMENT:

             This document constitutes the entire agreement between Defendant and the USAO, and no

   other pmmises or inducements have been made, direcfly or indirectly, by any agent of the United

   States govemment, including any Deparment                 of Justice attomey, conceming any plea to        be

   entered   in this case. In additioU Defendant            states that no person has, directly   or indirectly,

   threatened or coerced Defendant to do or refrain from doing anything in connection with any aspect

   of this case, including entering   a plea   of guilty.

             Defendant acknowledges having voluntarily entered into both the plea agreement and the

  gurlty plea- Defendant further acknowledges that Oris guilty plea is made of Defendant's own free

  will   and that Defendant is, in fact, guilty.

   II.   CONSEO[JENCIS OF POST-PLEA MISCOITIDUCT:

            After pleading guilty and before sentencing, if Defendant commits any crime, other than

  minor traffic offenses, violates any conditions of release that rcsults in revocation, violates any

  tenn of this guilty-plea agreemen! intentionally provides misleading, incomplete or untrutlfrl

  information to the U,s. Probation office or fails to appear for sentencing, the United states, at its

  option, may be released from its obligations under this agreement. The             usAo    may also, in its

  discrction, proceed with this agrcement and may advocate for any sentencing position supported


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   by the facts, including but not limited to obstruction of justice and denial of acceplance of

   responsibility.

   12. LIMITED RIGHT TO WITHDRAW GI,JILTY PLEA:

              Pursuant   to Rule ll(c) and (d),     Federal Rutes   of Criminal Procedure,    Defendant

   understands that there    will   be no right to withdraw the plea entered under this agrcement, except

   where the Court rejects those portions of the plea agreement which deal with charges the USAO

   agrees !o dismiss or not to bring. Additionally, in the event United States fuEnigration authorities

   and/or a court erroneously teat this conviction as a crime of moral turpitude or an aggravated

   felony, Defendant has the right to withdraw his guilty plea




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   Date                                                     MO



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                                                            ruSTIN K. GELFAND
                                                            IAN T. MI.JRPHY
                                                            Attomeys for Defendant




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